                      Case 3:15-cr-00319-RS Document 178 Filed 11/10/18 Page 1 of 1
                                                                                                                             CLEAR FORM
 Name Scott L. Fenstermaker, Esq.
 Address 100 Park Avenue, 16th Floor
 City, State, Zip New York, New York 10017
 Phone 917-817-9001
 Fax 212-302-0327
 E-Mail scott@fenstermakerlaw.com
 G FPD        G Appointed    G CJA      G Pro Per    G✘Retained

                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
United States of America                                                CASE NUMBER:

                                                                                                   15 CR 00319 (RS)
                                                    PLAINTIFF(S),
                                  v.
Shaun Bridges
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                           Shaun Bridges                              hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
 G Conviction and Sentence                                                  Denial of 2255 motion and COA
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on 10/16/18 and 10/23/18 . Entered on the docket in this action on 10/16/18 and 10/23/18                                    .

A copy of said judgment or order is attached hereto.


November 10, 2018                                       /s/
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                   NOTICE OF APPEAL
